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UNITED STATES DISTRICT COURT t M

WESTERN DISTRICT OF TENNESSEE 05 JUN 22 pH 3; 16
Western Division

      

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UNITED STATES OF AMERICA
-vs- Case No. 2:05cr20236-B
BILLY GENE WILLIAMS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
FRIDAY, JUNE 24, 2005 at 3:30 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: June 22, 2005 Wv

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

’If` not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3 l42(f) are present. Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft`:cer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8¢'85) Order of Ternporary Detentton

This document entered on the docke sheet in compliance
with Hu|e 55 and/or 32(b) FHCrP on 2a "Bg§ 11 2

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

